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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA


                                  )                   Case Number
    STEVEN CAROLINI               )
                                  )
             Plaintiff,           )
                                  )                   CIVIL COMPLAINT
               vs.                )
                                  )
    LAW OFFICES OF JAMES A. WEST, )                   JURY TRIAL DEMANDED
    P.C.                          )
              Defendant           )



                               COMPLAINT AND JURY DEMAND

             COMES NOW, Plaintiff, Steven Carolini, by and through his undersigned

    counsel, Peter Wizenberg, Esquire, complaining of Defendant, and respectfully avers as

    follows:

                          I.    INTRODUCTORY STATEMENT

             1.    Plaintiff, Steven Carolini, is an adult natural person and brings this action

    for actual and statutory damages and other relief against Defendant for violations to the

    Fair Debt Collection Practices Act, 15 U.S.C. § 1692 et seq. (“FDCPA”) which prohibits

    debt collectors from engaging in abusive, deceptive and unfair practices.




                                  II.     JURISDICTION

             2.    Jurisdiction of this court arises under 15. U.S.C. § 1692k(d) and 28 U.S.C.

    §1337.
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            3.      Venue in this District is proper in that the Plaintiff resides in the District

    and the Defendant transacts business in this District.

                                     III.   PARTIES

            4.      Plaintiff, Steven Carolini, is an adult natural person residing at 6353

    Stonehurst Circle, Lake Worth, Florida 33467. At all times material and relevant hereto,

    Plaintiff is a “consumer” as defined by the FDCPA, 15 U.S.C. § 1692a (2).

            5.      Defendant, Law Offices of James A. West, P.C. (“Defendant”), at all

    times relevant hereto, is and was a professional corporation engaged in the business of

    collecting debt within the State of Florida and the State of Texas with a principal place of

    business located at 6830 Rogerdale Road, Suite 130, Houston, TX 77072-1612.

            6.      Defendant is engaged in the collection of debts from consumers using the

    telephone and mail. Defendant is a “debt collector” as defined by the FDCPA, 15 U.S.C.

    §1692a(6).

                            IV.     FACTUAL ALLEGATIONS

            7.      On or about August 7, 2010, Plaintiff started to receive collection calls

    from Defendant in regards to a debt allegedly owed to Capital One for approximatly

    $8,755.00.

            8.      At that time, Plaintiff informed the Defendant that he had retained the

    services of the law firm Persels & Associates, LLC to help aid him in the settlement of

    his debt and for them to call their firm directly in this matter.

            9.      Defendant’s agent, stated that he knew that the Plaintiff was with Persels

    already, but that they refused to work with them.
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            10.    Defendant went on to tell the Plaintiff that if Persels ever called them they

    would just hang up on them.

            11.    On or about that same day, August 7, 2010, Persels sent a “cease and

    desist” letter to the Defendant. See Exhibit “A” (letter) attached hereto.

            12.    On or about August 24, 2010, at 3:10 pm, Plaintiff received a call to his

    personal cell from Defendant’a agent, “Wayne Gillerg”, at extension 1147, collecting on

    the above debt.

            13.    On or about Augsut 27, 2010, at 2:26 pm, Plaintiff received a call to his

    personal cell phone from Defendant’s agent, “Paula Donna”, at extension 1208 looking

    for payment on this account.

            14.    On or about Augsut 31, 2010, at 8:53 pm, Plaintiff received a call from

    Defendant’s agent, “Anna Hamilton”, at extension 1272 attempting to collect on this

    debt.

            15.    On or about September 1, 2010, Plaintiff’s mother-in-law, received a call

    to her home from Defendant’s agent, “Anna Hamilton”, who stated that she was an

    attorney and that she needed to find the Plaintiff as soon as possible.

            16.    Any and all contact with the Plaintiff after knowledge that they were being

    represented by an attorney constitutes a violation of the Fair Debt Collection Practices
    Act.

            17.    The Defendant acted in a false, deceptive, misleading and unfair manner

    when they engaged in conduct the natural consequence of which is to harass, oppress or

    abuse such person in connection with the collection of a debt.
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            18.     The Defendant knew or should have known that their actions violated the

    FDCPA. Additionally, Defendant could have taken the steps necessary to bring their and

    their agent’s actions within compliance of the FDCPA, but neglected to do so and failed

    to adequately review those actions to insure compliance with the law.

            19.     At all times pertinent hereto, Defendant was acting by and through its

    agents, servants and/or employees, who were acting within the scope and course of their

    employment, and under the direct supervision and control of Defendant herein.

            20.     At all times pertinent hereto, the conduct of Defendant as well as its

    agents, servants and/or employees, was malicious, intentional, willful, reckless, negligent

    and in wanton disregard for federal and state law and the rights of the Plaintiff herein.

            21.     As a result of Defendant’s conduct, Plaintiff has sustained actual damages,

    including, but not limited to, injury to Plaintiff’s reputation, invasion of privacy, damage

    to Plaintiff’s credit, out-of-pocket expenses, physical, emotional and mental pain and

    anguish and pecuniary loss and he will continue to suffer same for an indefinite time in

    the future, all to his great detriment and loss.

                                            COUNT I - FDCPA

            22.     The above paragraphs are hereby incorporated herein by reference.

            23.     At all times relevant hereto, Defendant was attempting to collect an

    alleged debt which was incurred by Plaintiff for personal, family or household purposes

    and is a “debt” defined by 15 U.S.C. § 1692a(5).

            24.     The foregoing acts and omissions constitute violations of the FDCPA,

    including, but not limited to, violations of:
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                  §§ 1692b(6)            Contact of Third Party: After knowng the consumer

                                         is represented by an attorney

                  §§ 1692c(a)(2)         After it knows the consumer to be represented by an

                                         attorney unless attorney consents or is unresponsive

                  §§ 1692c(c)            After written notification that consumer refuses to

                                         pay debt, or that consumer wants collector to cease

                                         communication

                  §§ 1692d               Any conduct the natural consequence of which is to

                                         harass, oppress or abuse any person

                  §§ 1692d(5)            Caused the phone to ring or engaged any person in

                                         telephone conversations repeatedly

                  §§ 1692(e)             Any other false, deceptive or misleading

                                         representation or means in connection with debt

                                         collection

                  §§ 1692f               Any unfair or unconscionable means to collect or

                                         attempt to collect the alleged debt

           WHEREFORE, Plaintiff respectfully prays that judgment be entered against the

    Defendant, Law Offices of James A. West, P.C., for the following:

           a.     Actual damages;

           b.     Statutory damages pursuant to 15 U.S.C. § 1692k;

           c.     Reasonable attorney’s fees and litigation expenses, plus costs of suit;

           d.     Such addition and further relief as may be appropriate or that the interests

                  of justice require.
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                                 V.      JURY DEMAND

                Plaintiff hereby demands a jury trial as to all issues herein.



                                       Respectfully submitted,




    Date: November 10, 2010            BY: /s/Peter Wizenberg
                                       Peter Wizenberg, Esquire
                                       Florida Bar Number: 34500
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